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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO
                                 _____________________

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                   No. 1:12-cr-02222-WJ-KRS-1

ANTONIO GUTIERREZ,

       Defendant.

                  MEMORANDUM OPINION AND ORDER
       DENYING DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

       THIS MATTER IS BEFORE THE COURT on Defendant Antonio Gutierrez’s pro se

Motion for Compassionate Release. Doc. 204. The Court, having reviewed Defendant’s brief and

considered the applicable law, finds that the Motion is not well-taken and is therefore DENIED.

                                         BACKGROUND

       In July of 2014, Defendant was found guilty of production of a visual depiction of a minor

engaged in sexually explicit conduct and was sentenced to 360 months imprisonment. Doc. 166 at

1-2. Defendant, 50 years old, cites his sexually transmitted virus and immunodeficiency stemming

therefrom, spinal stenosis, sciatica, herniated vertebral disks, neuropathy, arthritis, anxiety, Post-

Traumatic Stress Disorder, depression, and general health deterioration and necessary surgeries

resulting from his age, as well as the relation of these health conditions with the ongoing COVID-

19 pandemic as grounds for his request. Doc. 204 at 1-2. He asks for both compassionate release

and home confinement with his disabled parents. Id. at 4.

                                          DISCUSSION
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         “Generally, a federal court may not modify a term of imprisonment once imposed.” United

States v. Wilson, 493 F. App’x 919, 921 (citing Dillon v. United States, 130 S. Ct. 2683, 2687

(2010)). However, Congress has provided a limited exception to this general rule and allowed for

certain “compassionate release” sentence modifications under 18 U.S.C. § 3582(c)(1)(A). To

justify the type of compassionate release that Defendant seeks, the Court must find that

“extraordinary and compelling reasons warrant such a reduction.” Id.

         However, a district court may not consider a request for compassionate release unless and

until the prisoner has exhausted all administrative remedies. See § 3582(c)(1); see also United

States v. Read-Forbes, No. CR 12-20099-01-KHV, 2020 WL 1888856, at *3 (D. Kan. Apr. 16,

2020) (discussing administrative exhaustion as a jurisdictional requirement).1 To effectively

exhaust under § 3582, a prisoner must make an initial request for compassionate release under 28

C.F.R. § 571.61 and appeal a denial pursuant to § 571.63. See § 3582(c)(1)(A); see also 28 C.F.R.

§ 571.60–571.64 (Procedures for the Implementation of 18 U.S.C. § 3582(c)(1)(A)). Alternatively,

if thirty days have passed since receipt of the request by the warden of the facility where the

prisoner is incarcerated with no action by the warden, a district court is empowered to consider the

prisoner’s § 3582(c)(1)(A) motion.

         Here, Defendant has not provided any evidence, or indeed, even pleaded, that he has

exhausted his administrative remedies. Even construed liberally, as pro se pleadings must be, there



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 Courts appear split as to whether the exhaustion requirement is jurisdictional or merely a claims-processing rule. See
United States v. Gamboa, No. CR 09-1741 JAP, 2020 WL 3091427 (D.N.M. June 11, 2020) (Parker, J.) (citing cases).
The Tenth Circuit has not yet decided this issue, but this Court is persuaded by the reasoning in Read-Forbes that the
exhaustion requirement is indeed jurisdictional and that the Tenth Circuit would conclude as such. Other courts in this
Circuit have concluded likewise. See, e.g., United States v. Davis, No. 19-CR-64-F, 2020 WL 2465264, at *2–3 (D.
Wyo. May 13, 2020). However, even assuming the requirement is a claims-processing rule, the Court would
nonetheless deny Defendant’s Motion on the grounds that (1) he has not shown that the warden of his facility allowed
his request to lapse after thirty days, (2) he has not shown that he has appealed a denial of a compassionate release
request with the Federal Bureau of Prisons (defined hereafter) and (3) his motion contemplates only home
confinement, which the Court does not have the authority to grant as explained herein.

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is nothing on the record before this Court that would empower it to consider Defendant’s request.

The language of § 3582(c)(A)(1) plainly requires that a defendant exhaust his administrative

remedies before seeking relief in the district court, and as noted by the Tenth Circuit in a recent

unpublished opinion, those remedies are initiated by filing a compassionate release request with

the warden. See United States v. Springer, No. 20-5000, 2020 WL 3989451, at *3 (10th Cir. July

15, 2020). While it appears Defendant initiated his release request with the warden of his facility,

the Court has been offered nothing by way of evidence that Defendant was ignored or that he has

otherwise exhausted his administrative remedies. Thus, Defendant cannot file for relief with the

Court, See, e.g., United States v. Blevins, 2020 WL 3260098, *3 (S.D. Miss. June 16, 2020) (“If

an inmate’s request is denied before the lapse of 30 days, then he must fully exhaust administrative

remedies before the Court may consider his motion to modify his sentence under the statute.”)

(citation omitted)), and the Court has no authority to excuse a failure to comply with the mandatory

statutory exhaustion requirement. See United States v. Gonzalez, No. 18-CR-00130-PAB, 2020

WL 1905071, at *2 (D. Colo. Apr. 17, 2020) (“[T]he Supreme Court has made clear that

‘mandatory exhaustion statutes . . . establish mandatory exhaustion regimes, foreclosing judicial

discretion.’” (quoting Ross v. Blake, 136 S. Ct. 1850, 1857 (2016))); Read-Forbes, 2020 WL

1888856, at *4 (citing Malouf v. Sec. & Exch. Comm’n, 933 F.3d 1248, 1256 (10th Cir. 2019)).

Because Defendant has not shown that he has exhausted his administrative remedies, the Court is

precluded from granting his request for release. Accordingly, the Court does not reach the merits

of Defendant’s compassionate release request.

       Furthermore, Defendant’s proposed release plan contemplates only home confinement, and

this Court has no authority to order the Federal Bureau of Prisons (“BOP”) to release Defendant

to this type of custody. It is well-settled law that a prisoner has no constitutional right to



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confinement in a particular place, including confinement at home. See McKune v. Lile, 536 U.S.

24, 39 (2002). BOP retains complete discretion in determining where federal prisoners are housed.

See 18 U.S.C. § 3621(b); United States v. Miller, 594 F.3d 1240, 1242 (10th Cir. 2010) (citing

Moresco v. United States, No. 92-1108, 1992 WL 372399, at *2 (10th Cir. Dec. 10, 1992)

(unpublished)).

       Here, Defendant does not cite any particular statutory basis for release to home

confinement; however, the Court construes his request under 18 U.S.C. § 3624(c)(2), which

authorizes BOP to place certain prisoners in home confinement. The unambiguous language of §

3624(c)(2), however, as modified by the Coronavirus Aid, Relief, and Economic Security

(CARES) Act, Pub. L. No. 116-136, § 12003(b)(2), 134 Stat. 281 (2020), specifies that only BOP

is statutorily authorized to release prisoners to home confinement. See United States v. Edwards,

No. 17-40093-01-DDC, 2020 WL 2836991, at *1 (D. Kan. June 1, 2020). Defendant’s request

would alter only the location of his incarceration, not its term. Accordingly, because the Court

lacks authority to designate the place of a prisoner’s incarceration, the Court must deny

Defendant’s request for release to home confinement.

                                        CONCLUSION

       The Court is not unsympathetic to Defendant’s health problems, nor is it ignorant of the

impacts of the COVID-19 pandemic on the prison population, and notes that Defendant initiated

the compassionate release protocol by correctly directing his motion first to the warden of his

facility. See Doc. 204. However, for this Court to review the merits of Defendant’s compassionate

release request, he must submit evidence that he requested consideration for compassionate release

from the warden of his facility and (1) that such request was not acted upon by the warden for

thirty days or (2) that such request was denied within thirty days and that Defendant appropriately



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appealed such denial with BOP, thus exhausting his administrative remedies, before seeking

judicial relief. For the foregoing reasons, Defendant’s Motion for Compassionate Release (Doc.

204) is DENIED.

       IT IS SO ORDERED.




                                           WILLIAM P. JOHNSON
                                           CHIEF UNITED STATES DISTRICT JUDGE




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